Case 1:22-cv-00404-DKW-RT Document 27 Filed 12/02/22 Page 1 of 4        PageID.149




HOLLY T. SHIKADA                             4017
 Attorney General of Hawai‘i

JOHN H. PRICE                                2576
KIMBERLY T. GUIDRY                           7813
MANA MORIARTY                                9227
KALIKO‘ONĀLANI D. FERNANDES                  9964
NICHOLAS M. MCLEAN                           10676
DAVID D. DAY                                 9427
  Deputy Attorneys General
Department of the Attorney General
State of Hawai‘i
425 Queen Street
Honolulu, Hawai‘i 96813
Tel: (808) 587-2952
E-mail: john.h.price@hawaii.gov

Attorneys for HOLLY SHIKADA, in her
official capacity as Attorney General for the
State of Hawai‘i

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I

 NATIONAL ASSOCIATION FOR                    CIVIL NO. 1:22-cv-00404-DKW-RT
 GUN RIGHTS; RONDELLE AYAU;
 JEFFREY BRYANT,                             STIPULATION AND ORDER

              Plaintiffs,

       v.                                    Chief Judge Derrick K. Watson

 HOLLY SHIKADA, in her official              Magistrate Judge Rom A. Trader
 capacity as Attorney General for the
 State of Hawai‘i,

              Defendant.




                                         1
Case 1:22-cv-00404-DKW-RT Document 27 Filed 12/02/22 Page 2 of 4          PageID.150




                         STIPULATION AND ORDER

      Plaintiffs NATIONAL ASSOCIATION FOR GUN RIGHTS; RONDELLE

AYAU; and JEFFREY BRYANT (collectively, “Plaintiffs”), and Defendant

HOLLY SHIKADA, in her official capacity as Attorney General for the State of

Hawaiʻi (“Defendant”), by and through the undersigned attorneys, hereby stipulate

and agree as follows:

   1. Whereas Plaintiffs filed a Motion for Preliminary Injunction (Dkt. No. 24)

      (the “Motion”) on November 18, 2022, and whereas that Motion is currently

      set for hearing before this Court on January 27, 2023 at 10:00 a.m., with

      briefing on the motion in accordance with Local Rule 7.2, the parties now

      stipulate to and propose the following briefing schedule with respect to that

      Motion:

            Opposition Due: February 15, 2023 (from January 6, 2023)

            Reply Due: March 17, 2023 (from January 13, 2023)

      With a hearing date to follow on or after March 31, 2023, on a date

convenient to the Court (from January 27, 2023).

   2. Plaintiffs and Defendant hereby stipulate that for the purpose of defending

      the constitutionality of HRS §§ 134-1, 134-4, and 134-8 from the legal

      challenges under the Second and Fourteenth Amendments to the U.S.

      Constitution set forth in Plaintiffs’ First Amended Complaint (Dkt. 21), the



                                         2
Case 1:22-cv-00404-DKW-RT Document 27 Filed 12/02/22 Page 3 of 4            PageID.151




       Attorney General waives her sovereign immunity and Eleventh Amendment

       immunity and consents to be sued in this Court in only this case, in only her

       official capacity, and only for the particular prospective declaratory and

       injunctive relief sought in Plaintiffs’ operative complaint in this case. The

       Attorney General does not waive, and expressly reserves the right to assert,

       any other sovereign immunity or Eleventh Amendment arguments or

       defenses she has or may have regarding any other issue, law, or other matter,

       including but not limited to the assertion of any damages claim in this case.

   3. This is the first stipulation filed in the instant case.

   /

   /

   /

   /

   /

   /

   /

   /

   /

   /

   /


                                            3
Case 1:22-cv-00404-DKW-RT Document 27 Filed 12/02/22 Page 4 of 4      PageID.152




      DATED: Wheat Ridge, Colorado, December 1, 2022.


                                   /s/ Barry K. Arrington
                                   BARRY K. ARRINGTON

                                   Attorney for Plaintiffs NATIONAL
                                   ASSOCIATION FOR GUN RIGHTS;
                                   RONDELLE AYAU; JEFFREY BRYANT



      DATED: Honolulu, Hawai‘i, December 1, 2022.

                                    /s/ John H. Price
                                   JOHN H. PRICE

                                   Attorney for Defendant HOLLY T.
                                   SHIKADA, in her official capacity as
                                   Attorney General of Hawai‘i




APPROVED AND SO ORDERED.

      DATED: December 2, 2022 at Honolulu, Hawai’i.


                                  /s/ Derrick K. Watson
                                 _______________________________
                                 Derrick K. Watson
                                 Chief United States District Judge



__________________________________________________________________
NAGR et al. v. Shikada; Civil No. 1:22-cv-00404-DKW-RT; United States
District Court for the District of Hawai‘i; Stipulation and Order




                                      4
